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                                UNITED STATES DISTRICT COURT
14
                       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16      JENNY LISETTE FLORES, et al.,             )   Case No. CV 85-4544 DMG (AGRx)
17                                                )
                 Plaintiffs,                      )   SUPPLEMENTAL APPLICATION FOR
18      - vs -                                    )   LEAVE TO FILE CORRECTED POINTS AND
19                                                )   AUTHORITIES IN SUPPORT OF MOTION TO
        WILLIAM P. BARR, ATTORNEY GENERAL         )   ENFORCE SETTLEMENT AND EXHIBIT 10
20      OF THE UNITED STATES, et al.,             )   UNDER SEAL
21                                                )
                 Defendants.                      )   [HON. DOLLY M. GEE]
22                                            _   )
23

24

25

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1
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1            Plaintiffs hereby file this supplemental application seeking an Order permitting
2      the filing of Plaintiffs’ Corrected Points and Authorities in Support of Motion to
3
       Enforce Settlement Agreement and Corrected Plaintiffs’ Exhibit 10, with the names of
4

5      class member asylum seekers and the name of the deponent in Exhibit 10 under seal.
6
             On May 31, 2019, Plaintiffs filed an Application to File Motion to Enforce
7
       Settlement and Exhibits Under Seal [Doc. # 547].
8

9            On May 31, 2019, the Court issued an In Chambers Minute Order [Doc. # 549],
10
       which stated in part that Plaintiffs offered no justification for their request to seal
11
       information concerning the “identities of certain Government employees, the name of a
12

13     shorthand reporter and notary public, the name of a psychiatrist, and the location of a
14
       government employee’s base of operations. The Court ordered Plaintiffs to do one of
15
       the following:
16

17           1. File under seal for the Court’s review new unredacted versions of the
18
             documents in question that do not have proposed redactions for items (b), (c),
19
             (d), and (e) highlighted therein, along with proposed redacted versions of
20

21           those documents in which such corresponding redactions have been removed
22
             (the latter of which shall be filed on the public docket). These filings shall be
23
             accompanied by a supplement to the Application and a sealed supplement to
24

25           Plaintiffs’ counsel’s declaration that discloses whether (and to what extent)
26
             Defendants consent to Plaintiffs’ supplemented Application;
27

28

       PLAINTIFFS’ SUPPLEMENTAL APPLICATION         1
       FOR LEAVE TO FILE UNDER SEAL                             CV 85-4544-DMG (AGRX)
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1               2. File on the public docket a supplement to the Application that concisely
2               explains why items (b), (c), (d), and (e) should be redacted, along with a
3
                supplemental declaration in support thereof that shall be filed under seal.
4

5               These supplemental filings shall disclose whether (and to what extent)
6
                Defendants consent to Plaintiffs’ original Application; or
7
                3. Elect a combination of options 1. and 2., with the proposed redactions
8

9               removed from matter that Plaintiffs concede should not be sealed.
10
       Id.
11
                The only redactions at issue are found in Exhibit 10, a deposition of a federal
12

13     employee taken in Lucas R. v. Azar, 2:18-CV-05741 DMG PLA (C.D. Cal.)
14
             A. Withdrawn redactions.
15
                The parties agree that the names of the shorthand reporter and notary public,
16

17     psychiatrist attending the deposition, and the location of federal employee’s base of
18
       operations need not be redacted. Plaintiffs withdraw and no longer request that these
19
       items be redacted.
20

21           B. Redaction of “(b) information concerning the identities of certain
                Government employees.”
22

23              The government’s position as to the proposed redactions in Exhibit 10, a
24
       deposition transcript of a federal employee, is as follows:
25

26
                The Court’s May 31, 2019 order in Flores pertaining to “information

27              concerning the ‘identities of certain Government employees’ is covered
28

       PLAINTIFFS’ SUPPLEMENTAL APPLICATION          2
       FOR LEAVE TO FILE UNDER SEAL                             CV 85-4544-DMG (AGRX)
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1            under paragraph 5 of the Lucas R. protective order, which defines
2            ‘Confidential Personal Information’ as ‘personal identifiable information’
3
             for ‘third parties, non-supervisory federal and non-federal employees,
4

5            including names and contact information … Paragraph 12 of the Lucas R.
6
             protective order provides that “all Confidential Personal Information
7
             produced or exchanged pursuant to this Protective Order shall be used solely
8

9            for the purposes of litigating or resolving this action and for no other
10
             purpose whatsoever and shall not be disclosed, disseminated, or transmitted
11
             to any person, entity, or organization except in accordance with the terms of
12

13           this Protective Order.” (emphasis added). Using evidence collected in Lucas
14
             R. that the Flores plaintiffs would not otherwise be entitled to obtain under
15
             Flores does not comport with the spirit or the letter of the Lucas R.
16

17           protective order. We therefore and respectfully object to the Flores
18
             plaintiffs’ proposal to use that evidence outside of the Lucas R. case in
19
             general and in Flores in particular.
20

21           If, however, the Court concludes that using evidence collected in and subject
22
             to the protective order in Lucas R. is nevertheless appropriate in Flores, the
23
             Lucas R. official-capacity defendants state as follows concerning what
24

25           redactions may be required under the Lucas R. protective order. Under the
26
             Lucas R. protective order, concerning: (1) [Deponent]: Her name and title
27

28
             should be redacted under the Lucas R. protective order, as she is not a

       PLAINTIFFS’ SUPPLEMENTAL APPLICATION         3
       FOR LEAVE TO FILE UNDER SEAL                          CV 85-4544-DMG (AGRX)
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1            supervisory employee. (2) Jill Volovar and James de la Cruz: As we
2            understand these employees to have supervisory duties, we do not read the
3
             Lucas R. protective order as requiring redaction. (3) [Six names of
4

5            employees] and any other federal employees or contractors referenced in
6
             [Deponent’s] deposition: their names and titles should be redacted under the
7
             Lucas R. protective order, as upon our initial understanding these people are
8

9            either non-supervisory federal or non-federal employees….
10
       See Supplemental Declaration of Peter Schey (“Supp. Schey Dec.”), ¶ 4. See also
11
       Supp. Schey Decl, Exhibit 1 (March 12, 2019, Stipulated Protective Order, Lucas R. v.
12

13     Azar, CV 2:18-CV-05741 (CD Cal.) (“Lucas R. Stipulated Protective Order”).
14
          1. Deposition Testimony in Lucas R. May Be Relied in this case
15
             The Defendants in this case have seemingly taken no position, instead relying on
16

17     the Defendants in Lucas R. to provide their position. The Lucas R. Defendants are
18
       incorrect that the Lucas R. Stipulated Protective Order bars the use of deposition
19
       testimony in Lucas R. in this case. The Lucas R. Stipulated Protective Order covers
20

21     “Confidential Personal Information” which includes “personally identifiable
22
       information and states “all Confidential Personal Information” produced pursuant to
23
       the Protective Order “shall be used solely for the purposes of litigating or resolving this
24

25     action and for no other purpose whatsoever....” Stipulated Protective Order at ¶ 12.
26
             The deponent’s testimony is not “personally identifiable information” and
27

28
       therefore is not confidential as defined in the Stipulated Protective Order.

       PLAINTIFFS’ SUPPLEMENTAL APPLICATION        4
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1            Moreover, the Stipulated Protective Order includes the procedure to follow in
2      the event any Lucas R. party believes any deposition testimony in that case includes
3
       “Confidential Personal Information”:
4

5            Confidential Personal Information contained in any statement made
6
             during an oral deposition may be designated as “Confidential” either
7
             through a statement made on the record, or by serving written notice of
8

9            the page and line of the confidential deposition portions … If such
10
             designations are made through written notice, they shall be made within
11
             twenty (20) days of receiving the final transcript. Until the aforesaid
12

13           period to designate the deposition has passed, the entire transcript shall
14
             be deemed Confidential Personal Information under the terms of this
15
             Protective Order.
16

17     Lucas R. Stipulated Protective Order, ¶ 6(c). Defendants do not claim that these
18
       procedures were followed with regard to any of the testimony relied upon in Plaintiffs’
19
       pending Motion to Enforce. Defendants’ effort to block use of the deposition in this
20

21     case is not supported by the plain terms of the Protective Order.
22
          2. Redaction of Names in the Deposition
23
             Inasmuch as the Lucas R. Defendants state that Jill Volovar and James de la
24

25     Cruz are supervisory federal employees, the Corrected Exhibit 10 filed herewith
26
       includes their unredacted names and titles.
27

28

       PLAINTIFFS’ SUPPLEMENTAL APPLICATION          5
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1             Because Plaintiffs have insufficient information to determine whether the six
2      employees referenced by the deponent at pages 11, 17, 19, 58, 123, 169, and 183 of the
3
       deposition are in fact non-supervisory employees, Plaintiffs have simply extracted
4

5      those pages from Exhibit 10. Those pages are not cited to or relied upon in the pending
6
       Motion to Enforce. Those names are no longer part of Corrected Exhibit 10. See Supp.
7
       Schey Dec., ¶ 7.
8

9             This leaves the name and title of the deponent. Plaintiffs do not have sufficient
10
       information to dispute Defendants’ assertion that the deponent is a non-supervisory
11
       employee. Out of an abundance of caution, Plaintiffs do not object to redacting her
12

13     name and title from Corrected Exhibit 10 and the Corrected Points and Authorities in
14
       Support of Motion to Enforce, filed concurrently herewith. Accordingly, the Corrected
15
       Points and Authorities and Exhibit 10 submitted herewith redact the deponent’s name
16

17     and title. Id.
18
       ///
19

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       PLAINTIFFS’ SUPPLEMENTAL APPLICATION        6
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1            A proposed Order granting this supplemental application is lodged herewith.
2

3      Dated: June 14, 2019                 Respectfully submitted,
4                                           CENTER FOR HUMAN RIGHTS &
5                                           CONSTITUTIONAL LAW
                                            Peter A. Schey
6
                                            Carlos Holguín
7
                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
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19

20
                                            /s/Peter Schey ____________
21
                                            Attorneys for Plaintiffs
22

23

24

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       PLAINTIFFS’ SUPPLEMENTAL APPLICATION     7
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1
                                        CERTIFICATE OF SERVICE
2

3             I, Peter Schey, declare and say as follows:
4
              I am over the age of eighteen years of age and am a party to this action. I am
5
        employed in the County of Los Angeles, State of California. My business address is
6

7       256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
8
              On June 14, 2019, I electronically filed the following document(s):
9
        SUPPLEMENTAL APPLICATION FOR LEAVE TO FILE CORRECTED POINTS AND
10
        AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT AND EXHIBIT 10 UNDER
11      SEAL
12
        with the United States District Court, Central District of California by using the
13
        CM/ECF system. Participants in the case who are registered CM/ECF users will be
14

15      served by the CM/ECF system.
16
                                                        /s/Peter Schey
17                                                      Attorney for Plaintiffs
18

19

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        PLAINTIFFS’ SUPPLEMENTAL APPLICATION        8
        FOR LEAVE TO FILE UNDER SEAL                             CV 85-4544-DMG (AGRX)
